             Case 1:19-cv-00906-TJK Document 3 Filed 04/04/19 Page 1 of 3



                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

    RYAN BUNDY

                          Plaintiff,
                                                    Case No.: 1:18-CV-2520 (TNM)
    vs.
                                                    The Honorable Trevor N. McFadden
    JEFF SESSIONS, et al.

                    Defendants.
    RICK LOVELIEN, et al.,

                          Plaintiffs,
                                                    Case No.: 1:19-CV-0906 (TJK)
    vs.
                                                    The Honorable Timothy J. Kelly
    THE UNITED STATES OF AMERICA, et
    al.∗

                          Defendants.

                                 NOTICE OF RELATED CASES

          Pursuant to Local Civil Rule 40.5(b)(3), the United States of America respectfully notifies

the Court that Lovelien v. United States, No. 19-906 (D.D.C.), is related to an earlier-numbered

case, Bundy v. Sessions, No. 18-2520 (D.D.C.). The cases are related because they “grow out of

the same event or transaction” and “involve common issues of fact.” LCvR 40.5(a)(3).

          The complaints are nearly identical and raise nearly identical claims for excessive force,

retaliation, and malicious prosecution. Both cases arise out of the same two events: (1) a standoff

that occurred on April 12, 2014, between the Cliven Bundy family and their armed supporters and

federal officers from the Bureau of Land Management (BLM); and (2) the subsequent prosecution

of all three plaintiffs on charges relating to assaulting and threatening a federal law enforcement


∗
  For security reasons, the caption of this filing does not contain the Individual Defendants’
residential addresses.

                                                 -1-
           Case 1:19-cv-00906-TJK Document 3 Filed 04/04/19 Page 2 of 3



officer. See United States v. Bundy, No. 16-cr-46 (D. Nev.). In fact, all three plaintiffs were subject

to the same superceding indictment. Id. (ECF 27). Both cases name as defendants former Attorneys

General Jefferson B. Sessions, III, Loretta E. Lynch, and Eric H. Holder; former Director of the

Federal Bureau of Investigation (FBI) James B. Comey; and former BLM Director Neil Kornze –

the Lovelien complaint also names the United States, the FBI, the BLM, and former Special Agent-

in-Charge Dan Love.

        Both cases also involve common issues of fact. Indeed, both complaints contain sections

entitled, “Facts Pertaining to the Excessive Force and Illegal Seizure During the Standoff,” “Facts

Pertaining to the Whistleblower Report,” and “Facts Pertaining to Prosecutorial Misconduct.”

Compare Lovelien Compl. (ECF 1, at 10, 11, 15) with Bundy Compl. (ECF 1, at 6, 9-10). Both

complaints challenge whether BLM officers used excessive force during the standoff when they

allegedly pointed their weapons at the Bundy supporters. Compare Lovelien Compl. (ECF 1 ¶ 53)

(“The protesters had heavily equipped federal agents with sniper rifles and other guns pointed

directly at them.”) with Bundy Compl. (ECF 1 ¶ 37) (“The protestors had heavily equipped federal

agents armed with sniper rifles and other firearms pointed directly at them.”). And both complaints

challenge whether the subsequent superceding indictment was supported by probable cause.

Compare Lovelien Compl. (ECF 1 ¶ 53) (“Even before Plaintiffs Lovelien and Stewart were

indicted, it was abundantly clear that there were no facts to support the litany of charges brought

against them, particularly since they never threatened or harmed any federal agents before, during,

or after the Standoff.”); with Bundy Compl. (ECF 1 ¶ 48) (“Even before Ryan was indicted, it was

abundantly clear that there were no facts to support the litany of charges brought against Ryan,

particularly given that they [sic] had not harmed or threatened any federal agents before, during,

or after the Standoff.”).



                                                 -2-
           Case 1:19-cv-00906-TJK Document 3 Filed 04/04/19 Page 3 of 3



       Counsel have conferred. Plaintiffs object to this notice of related cases and plan to file a

response. But Plaintiffs themselves repeatedly refer to their prosecutions as “related” to each other.

Lovelien Compl. (ECF 1 ¶¶ 37, 41, 75, 128). Moreover, prior to filing this lawsuit, counsel for all

three Plaintiffs represented to the District of Nevada that he would be filing this new lawsuit, and

stated: “This Complaint will be assigned to the Honorable Trevor McFadden (“Judge McFadden”)

as related to another lawsuit filed on behalf of Ryan Bundy, Bundy v. Sessions et al, 1:18-cv-2520

(D.D.C.), which is currently before him.” See Joint Status Report, Lovelien v. United States, No.

18-2110 (D. Nev.) (ECF 31) (attached as Exhibit 1).

       For the foregoing reasons, the cases are related under Local Civil Rule 40.05(a)(3), and the

later-filed case (Lovelien) should be transferred “to the Calendar and Case Management

Committee for reassignment to the judge having the earlier case.,” i.e., to Judge McFadden. LCvR

40.5(c)(2). Respectfully submitted this 4th day of April 2019.

                                                      JOSEPH H. HUNT
                                                      Assistant Attorney General, Civil Division

                                                      C. SALVATORE D’ALESSIO, JR.
                                                      Acting Director, Torts Branch
                                                      Civil Division

                                                      RICHARD MONTAGUE
                                                      Senior Trial Counsel, Torts Branch
                                                      Civil Division

                                                      s/ Siegmund F. Fuchs
                                                      SIEGMUND F. FUCHS
                                                      (D.C. Bar # 986828)
                                                      Trial Attorney, Torts Branch, Civil Division
                                                      U.S. DEPARTMENT OF JUSTICE
                                                      Ben Franklin Station
                                                      P.O. Box 7146
                                                      Washington, D.C. 20044-7146
                                                      (202) 616-4322 (phone)
                                                      siegmund.f.fuchs@usdoj.gov

                                                      Attorneys for Defendants

                                                -3-
